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                        EXHIBIT 19
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Screenshot of https://www.rafaelramirez.net/sala-de-prensa/notas-de-prensa/ramirez-consigno-a-bachelet-
    mas-pruebas-de-persecucion-politica-y-violaciones-de-ddhh-en-venezuela, taken August 20, 2019




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RAMÍREZ DELIVERED BACHELET MORE EVIDENCES
RELATED TO POLITICAL PERSECUTION AND
HUMAN RIGHTS VIOLATIONS IN VENEZUELA
By Rafael Ramírez Carreño
Posted May 27th, 2019
In Press releases

On his second trip to Geneva, Rafael Ramírez was received by the office of the UN
                       High Commissioner for Human Rights today
** With this visit, Ramírez seeks to attract the attention and support of the international
community, especially the UN, to demand that the Venezuelan government respects
human rights and all international agreements Venezuela has signed on this matter.
** In Ramírez' opinion, massive violation of human rights in Venezuela is unacceptable,
consequently this issue must be part of any process of political dialogue with international
mediation.
** Ramírez delivered the list of oil workers in jail to the office of the High Commissioner, as
well as letters from their relatives reporting their situation. It is urgent that all cases are
known and investigated independently and fairly.
Geneva, May 27th, 2019.-Former oil minister Rafael Ramírez met on Monday with the
team of the United Nations High Commissioner for Human Rights, Michelle Bachelet,
who is conducting the Venezuela case, in order to follow up on their complaints about
political persecution and human rights violations by the government of Nicolás Maduro
and deliver letters from the relatives of the kidnapped oil workers, as well as expanding
the list of victims which had been previously delivered to the international official.
“We have insisted before the High Commissioner on the urgent need to take actions to
stop the unleashed political persecution, which is practiced even violently, against
leaders, former ministers, workers, especially from the oil area, and military and civil
officers, whose only crime is to stand up against the disaster that Maduro's regime has
caused in our homeland”, said Ramírez.

The political leader reported he delivered the Bachelet team letters he received from the
relatives of the more than one hundred oil workers arrested and kidnapped by the




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Venezuelan government; letters documenting the violations and attacks against those
who were arrested.

Among the most emblematic complaints, Ramírez mentioned the cases related to
Nelson Martínez, Eulogio Del Pino, Jesús Luongo, Pedro León, Orlando Chacín, Pavel
Rodríguez, among other one hundred oil workers, as well as the case related to Major
General Manuel Rodríguez Torres, among other Bolivarian military officers kidnapped by
Maduro. He also made a special reference to the case of the arrest-disappearance of
Rocío Ramírez, who has been subjected to mistreatment and abuse of all kinds by her
captors.

Last January, the Chavista leader had a meeting with the former president of Chile,
where he denounced in details the persecution performed by the government of Nicolás
Maduro against him and delivered a first list containing almost a hundred of civilian and
military cases, especially Chavistas, who are even persecuted and tortured with more
cruelty than to other opponents, emphasizes the former minister of President Hugo
Chavez' government.

The cases that Ramírez has denounced before Commissioner Bachelet are especially
serious, because they are victims that “nobody mentions and are invisible. These
prisoners have not been prosecuted for years and the courts judging them shamelessly
ignore their rights. Many of them have not received medical assistance, they are isolated
and incommunicado, and their families have been persecuted and threatened, to such
an extent that they have broken into and occupied their homes”, said the leader in exile.

By all communication and political channels he has access to, Ramírez has been
developing a permanent campaign to report cases of human rights violations of several
hundreds of Venezuelans, such as former oil workers, officers of the National Army,
revolutionary activists and social leaders who are persecuted due to their ideas.

 1. complaint intensifying persecution against him
“I myself am subjected to an evil and unlimited persecution, which has intended my
moral bashing, my personal, family and political destruction, without any evidence
whatsoever. Most recently, they made up a lie affirming I was supposedly linked to the




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right-wing coup on April 30th; simply absurd. I have to live abroad, exiled, in a constant
alertness, due to the threats and aggressions coming from Maduro himself and his
Prosecutor, who have decided to arrest me and kidnap me in order to smother my voice
of denunciation and fight against the process of destruction and surrender that our
country suffers under Maduro's regime ”, says the former minister.

Likewise, the former Chavez' minister denounced the violence and intolerance
environment coming from the Venezuelan extreme right-wing political actors who
attack and persecute him because of his precise position in defense of the Constitution
and against a military intervention in the country.

Rafael Ramírez is in touch “with governments and key members of the international
community, such as the United Nations High Commissioner, Michelle Bachelet,” to
denounce an environment ignoring the most elementary rights where all Venezuelans
currently live.

"I am seeking comprehensive endorsement from the international community and the
UN to demand that the Venezuelan government respect human rights and all the
international agreements Venezuela has signed," said the Chavista political leader.

In Ramírez' opinion, Human Rights as part of a political dialogue must be a priority; a
political dialogue intended to be carried out with international mediation, therefore it is
urgent that all cases are known and investigated independently and fairly.

Human rights make the world run
After the meeting with Michelle Bachelet's team, Rafael Ramírez signed and wrote
“Rafael Ramírez, for Venezuela!” on the board where distinguished personalities have
recorded their visit to the institution.

RR's visit was documented next to names like Desmond Tutu a South African pacifist
priest who has fought against Apartheid. The young Greta Thunberg the Swedish
student and activist devoted to raising awareness about global warming. Blanka
Jamnišek the Slovenian who runs the International Holocaust Remembrance
Alliance. Malala Yousafzai the young Pakistani devoted to the defense of women's




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rights. Nadia Murad the young Yazidi who managed to escape from ISIS and has
devoted herself to reporting human trafficking. Natalya Estemirova the Russian woman
devoted to documenting and reporting human rights violations in concentration camps
and war victim children. Even among those who signed, there is the signature of the
murdered Brazilian activist Nicinha, who was the leader of the Movement of People
Affected by Dams in Rondonia.


Ramírez joins the large list of human rights defenders who have suffered abuses and
who have devoted their lives to the defense of the most harmed people and to
condemn all forms of aggression against humanity.




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                          TRANSLATION CERTIFICATION

Date: August 20, 2019

To whom it may concern:
This is to certify that the attached translation is an accurate representation of the documents
received by this office. The translation was completed from:
      •   Spanish
To:
      •   English
The documents are designated as:
   • Rafael Ramírez Press Release, dated May 27, 2019: https://www.rafaelramirez.net/sala-
      de-prensa/notas-de-prensa/ramirez-consigno-a-bachelet-mas-pruebas-de-persecucion-
      politica-y-violaciones-de-ddhh-en-venezuela
   • Tweet by Rafael Ramírez, dated May 27, 2019 at 10:26 am:
      https://twitter.com/RRamirezVE/status/1133062021317046272
   • Tweet by Rafael Ramírez, dated May 27, 2019 at 11:16 am:
      https://twitter.com/RRamirezVE/status/1133074550806257669

Eugene Li, Project Manager in this company, attests to the following:
“To the best of my knowledge, the aforementioned documents are a true, full and accurate
translation of the specified documents.”




Signature of Eugene Li




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